

People v Johnson (2025 NY Slip Op 02609)





People v Johnson


2025 NY Slip Op 02609


Decided on April 30, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 30, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

CHERYL E. CHAMBERS, J.P.
LINDA CHRISTOPHER
WILLIAM G. FORD
DONNA-MARIE E. GOLIA, JJ.


2022-08195
 (Ind. No. 4319/86)

[*1]The People of the State of New York, respondent,
vLamonte Johnson, appellant.


Justin C. Bonus, Forest Hills, NY, for appellant.
Eric Gonzalez, District Attorney, Brooklyn, NY (Leonard Joblove and Morgan J. Dennehy of counsel), for respondent.



DECISION &amp; ORDER
Appeal by the defendant from a resentence of the Supreme Court, Kings County (Vincent M. Del Giudice, J.), imposed August 26, 2022, upon the granting of his motion pursuant to CPL 440.20 to set aside a sentence of the same court (Thaddeus Owens, J.) imposed February 18, 1987, upon his conviction of murder in the second degree (two counts), upon a jury verdict.
ORDERED that the resentence is affirmed.
The defendant's contention that he was entitled to an updated presentence investigation report is improperly raised for the first time in his reply brief and therefore not properly before this Court (see People v Brown, 217 AD3d 681, 682). The issues raised with respect to the defendant's post-conviction motion pursuant to CPL 440.10 to vacate his judgment of conviction also are not properly before this Court, as he was denied leave to appeal from the order denying that motion (see People v Lowe, 166 AD3d 901, 904; People v Coleman, 125 AD3d 879, 881).
The resentence imposed was not excessive (see People v Suitte, 90 AD2d 80).
The defendant's remaining contention is without merit.
CHAMBERS, J.P., CHRISTOPHER, FORD and GOLIA, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








